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3
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4    Fresno, California 93721
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                       IN THE UNITED STATES DISTRICT COURT FOR THE
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9                               EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA, ) Case No. 1:05-CR-0341 AWI
12                                 )
                       Plaintiff,  ) STIPULATION TO CONTINUE DATE
13         v.                      ) FOR HEARING ON DEFENDANTS
                                   ) MOTIONS AND ORDER
14                                 )
                                   ) DATE: May 30, 2006
15   JAMES DALE HOLLAND, et al., ) TIME: 9:00 a.m.
16                                 ) PLACE: Courtroom 2
                       Defendants. ) Honorable Anthony W. Ishii
17   ______________________________)

18
            IT IS HEREBY STIPULATED by and between the parties hereto and through their
19

20   attorneys of record that the motions hearing presently scheduled before the Honorable Anthony

21   W. Ishii for May 30, 2006 at 9:00 a.m. be continued to June 12, 2006 at 9:00 a.m.
22          All parties herein, through their respective counsel have been contacted regarding the
23
     requested continuance and concur with this request.
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               Case 1:05-cr-00341-AWI Document 52 Filed 05/31/06 Page 2 of 3


1           The parties agree that the resulting period of delay occurring between May 30, 2006, and
2    the date for hearing the motions, shall continue to be excluded for speedy trial purposes pursuant
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     to 18 U.S.C. § 3161 (h)(1)(F).
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            IT IS SO STIPULATED:
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7
     Dated: May 25, 2006                          McGregor W. Scott
8                                                 United States Attorney
9                                                  /s/ Kathleen A. Servatius
10                                                 By: KATHLEEN A. SERVATIUS
                                                          Assistant U.S. Attorney
11

12   Dated: May 25, 2006                           /s/ Diana L. Weiss
                                                  DIANA L. WEISS, ESQ.
13
                                                  Attorney for Defendant
14                                                JAMES DALE HOLLAND

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16   Dated: May 25, 2006                          /s/ Marc Ament
17                                                MARC AMENT, AFD
                                                  Attorney for Defendant
18                                                MICHAEL TIMOTHY KILPATRICK

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21   Dated: May 25, 2006                          /s/ Eric Fogderude
                                                  ERIC FOGDERUDE, ESQ.
22                                                Attorney for Defendant
                                                  THOMAS ROY WRIGHT
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1                                                ORDER
2           Upon the stipulation of the parties and good cause appearing therefore,
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            IT IS HEREBY ORDERED that hearing on defendants' motions presently set for May 30,
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     2006 at 9:00 a.m. is continued until June 12, 2006 at 9:00 a.m. to be heard before the Honorable
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     Anthony W. Ishii, Courtroom 2.
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     IT IS SO ORDERED.
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     Dated:    May 26, 2006                            /s/ Anthony W. Ishii
9    0m8i78                                      UNITED STATES DISTRICT JUDGE
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